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                       IN THE UNITED STATE DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                         PLAINTIFF


VS.                             CASE NO. 4:11-CR-40037-061


BRIDGET STARKEY                                                                DEFENDANT


                                          ORDER

       Before the Court is a Motion to Dismiss Indictment filed by the United States of

America. (ECF No. 1124). Pursuant to Rule 48 of the Federal Rules of Criminal Procedure, the

government moves to dismiss without prejudice the Indictment filed in this matter, only as to

Counts 1, 150, and 151. Accordingly, the Indictment filed in this matter is DISMISSED

WITHOUT PREJUDICE as to those counts.

       IT IS SO ORDERED, this 14th day of May, 2013.



                                                         /s/ Susan O. Hickey
                                                         Susan O. Hickey
                                                         United States District Judge
